                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

MISSOURI PRIMATE FOUNDATION,                           )
CONNIE BRAUN CASEY, individually,                      )
ANDREW SAWYER, individually, and                       )
JANE DOES 1 and 2,                                     )
                                                       )
       Plaintiffs and Counterclaim                     )
       Defendants,                                     )
                                                       )       Case No. 4:16-cv-02163
v.                                                     )
                                                       )
PEOPLE FOR THE ETHICAL                                 )
TREATMENT OF ANIMALS, INC. and                         )
ANGELA SCOTT a/k/a ANGELA G.                           )
CAGNASSO, individually,                                )
                                                       )
       Defendants and                                  )
       Counterclaim Plaintiffs.                        )
                                                       )

                                  MEMORANDUM TO COURT
       COME NOW counsel for Plaintiff/Counterclaim Defendant Connie Braun Casey

(“Plaintiff”), Daniel T. Batten, Brian D. Klar, and the law firm of Klar, Izsak & Stenger, LLC

(“Plaintiff’s Counsel”), and hereby respectfully notifies this Court that, pursuant to this Court’s

Order of August 23, 2018, Plaintiff’s Counsel delivered a copy of their Motion for Leave to

Withdraw on August 22, 2018 (via email) and again on August 23, 2018 (via email and first class

mail), along with this Court’s Orders dated August 21, 2018, and August 23, 2018. Plaintiff’s

Counsel also advised Plaintiff on August 23, 2018 (via email and first class mail), that if Plaintiff’s

Counsel is allowed to withdraw Plaintiff will be representing herself, and that if Plaintiff objects

to the Motion for Leave to Withdraw, she must file a written objection with the Court no later than

Thursday, August 30, 2018.
       Plaintiff’s contact information is as follows: Connie Casey, 12338 Hwy CC, Festus,

Missouri 63028; 314-852-2910; conniebrauncasey@gmail.com.

       In light of the foregoing, Plaintiff’s Counsel has otherwise and fully complied with this

Court’s Order of August 23, 2018, and requests that this Court grant their Motion for Leave to

Withdraw.

 Dated this 23rd day of August, 2018.

                                                   Respectfully Submitted,

                                                   KLAR, IZSAK & STENGER, L.L.C.

                                            By:    /s/ Brian D. Klar______
                                                   BRIAN D. KLAR, #36430
                                                   DANIEL T. BATTEN, #58810
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                                                           dbatten@lawsaintlouis.com
                                CERTIFICATE OF SERVICE


I hereby certify that on August 23, 2018, the foregoing was electronically filed with the Clerk
of the Court using the CM/ECF system, by which notification of such filing was electronically
sent and served via first class mail, postage prepaid, to the following:


POLSINELLI PC                                               Patrick J. Hanley, Esq.
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PETA FOUNDATION                                             Geordie Duckler
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Plaintiff


                                                                   /s/ Brian D. Klar
